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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


STRYKER CORPORATION and
HOWMEDICA OSTEONICS CORP.,

             Plaintiffs,                            Case No. 1:17-cv-00066

v.                                                  Hon. Paul L. Maloney

XL INSURANCE AMERICA, INC., formerly
known as WINTERTHUR INTERNATIONAL
AMERICA INSURANCE COMPANY,

             Defendant.



     Stipulation and Order Amending Case Management Order
             Plaintiffs, Stryker Corporation and Howmedica Osteonics Corp., and

Defendant, XL Insurance America, Inc., jointly stipulate and request that the Court

amend the Case Management Order. The reason for this request is that the parties

have engaged in motion practice regarding certain document discovery issues (RE 65,

70, 73, 76, 79) and those motions have delayed the commencement of deposition and

the preparation of expert reports. The parties do not request an extension of lay

witness discovery, an extension of the dispositive motion deadline, or a delay in the

trial date. Rather, the parties stipulate and request that the deadlines for expert

discovery only be modified as follows:

             1. Expert Disclosures: The parties request that this deadline,
                which is currently set for June 3, 2019, be extended to July
                31, 2019.
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             2. Expert Reports: The parties request that this deadline,
                currently set for June 3, 2019, be extended to August 30,
                2019.

             3. Rebuttal Expert Reports: The current Case Management
                Order does not provide for rebuttal reports. The parties
                request the opportunity for such experts and request that the
                deadline for such reports be set for September 20, 2019.

             4. Expert Deposition Cut-off: The parties request that the
                deadline be set for October 21, 2019.

             5. No other deadlines change: This stipulation does not affect
                any other deadlines. Namely, the deadline for lay witness
                discovery remains at September 5, 2019 and the filing
                deadline for dispositive motions remains October 31, 2019.
                The dates for the settlement conference, final pre-trial
                conference, and trial remain unchanged.

The parties also stipulate that the ten deposition limit in the Case Management

Order does not apply to expert depositions or de bene esse depositions.




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  By: /s/ D. Andrew Portinga        By:         /s/ Charles W. Browning
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  Dated: April 29, 2019                   Dated: April 29, 2019



                                      ORDER

               Having reviewed the foregoing stipulation, the Case Management Order

is modified as set forth above.

               IT IS SO ORDERED.



Dated: April _____, 2019               ___________________________________
                                       Hon. Paul L. Maloney
                                       U.S. District Court




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